Case 3:11-cv-00807-CAB-BLM Document1-1 Filed 04/18/11 PagelD.13 Page 1 of 34

Exhibit “A”

 
 

Case 3:11-cv-00807-CAB-BLM Document1-1 Filed 04/18/11 PagelD.14 Page 2 of 34

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):

PENSKE LOCISTICS, LLC, a Delaware corporation, and DOES 1 wee

SUN-168

 

through 100, Inclusive

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

SHANNON NANGLE, on behalf herself and all others similarly situated

 

 

 

 

>

continuacion

cualquier recuperacion de

 

NOTICE! You have. been sued. The courl may decide against you without your being heard unless you respond within 30 days. Read the information

alow,

You have 30 CALENDAR DAYS after this Summons and legal papers are served on you to file a written response al this. court and haye a copy
served on the plaintiff. A letter or phone call will not protect you, Your wriiten response must be in proper legal form i you want the court fo hear your
case, There may be a court form thal you can use for your response. You tan find these court forms and mors information at the California. Courts
Online Self-Help Center (www. courtinio.ca, gov/seifhelp), your county law library, or the courthouse nearest you. if you cannot pay the filing fee, ask
the court Clerk for a fea waiver form, If you do not fie your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further waming from the court.

There are other legal tequiremehts.. You may want lo call an attorney right away. ff you de not ktiow an alforey, you may want lo call an allormey
referral service, If you cannot afford an attorney, you May be eligible Jor free legal services from a nonprofit legal services program. You can locate
these nonprolit groups at the Califomia Legal Services Web site (www. lawhelpealifornia. org), the California Courts Online Self-Help Center
(vaww. couninfo. ca,gov/selfhelp), oF by contacting your focal court or county bar association. NOTE; The court has a statutory lien for waived fees and
costs on any sétiement of arbitration award of $10,000 of more in @ civil case. The court's lien must be paid before the court will dismiss the case.
jAVISO! Lo han demanderio. Sino responde deniro de 30 dias, la corie puede decidir an su contra sin escuchar sy version, Lea la Informacion a

Tiene 30 DIAG DE CALENDARIO después de que je entreguen esta citacion y papeles legales para preseotar ung respuesta por escrito 20 esta
corle y hacer que se entregue una copia al demandante. Una carla o una llamada talefonica no jo protegen. Su respuesta por aserito fens que estar
en formato legal correcto 3 desea que procesen su caso én ja corie. Es posible gue haya un formulara qua usled pueda usar para Su respuesia.
Puede encontrar estos fermuiarios de fa corte y mas informacion en ef Centrode Ayuda de las Cortes de California fw, sucorie.ca.gov}, enia
diblidjeca de layas de su condado o en la corte que le Guede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretano de ia corte
que le dé un formulario de exenciénde pago de cuotas. Sino presenta su respuesta a flempo, puede perder e! caso pot incumpilmiento y ia corte le
podrd quilar Su suaide, dinero y dienas sin mas advertencia.

Hay otros requisifos legales. Es racomendable que lame a un abogado inmediatamente. S| no. conoce. a un abogado, puede Hamar a un servicin de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para oblarer servicios egaes gratuilos de un
programa de servidos legales sin fines de lvero. Puede encontrar estos grupos sin fines de iucro en el silo web de California Legal Services,

(www lawheipcalifornia.org), en al Centro de Ayuda de las Covles de California, (wew.sucorle.ca.gov) 0 poniéndose en contacto con ja corfe ol
colegio de abogados locales. AVISO: Por ley, ia corte liane Cérecho @ reclamar las cuolas y los cosios exenios por poner un gravamen sobre

pagar ef gravamen dé la cone antes de que fa core pueda desechar af caso.

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The name and address of the court Is: CASE NUMBER:
(El nombra y direccion de fa corte 85}.

Superior Court for the State of California, County of San Diego

{Néimert dal Caso):

37-2011 -00088681-CU-OE-CTL.

 

 

 

 

 

Central Division, 330. W. Broadway, San Diego, California 92101

The name, address, and

telephone number of plaintiff's atiomey, or plaintiff without an attomey, is:

(El nombre, la direccion y al numero dé teléfone del abogado dei demandante, o del demandante que no fiene abogado, es}:
COHELAN KHOURY SINGER; Michael D. Singer, Esq., SBN 115301; J. Jason Hill, Esq., SBN 179630
605 C Street, Suite 200, San Diego, California, (619)595-3001

DATE-FEB 2 8 2011 Corby WYNNIE S, ABELLA. “fadjont)

uty

(For proof of service of this summons, use Brook of Service of Summons (form POS-010),)

(Para prueba de entrega

de esta citatién use el formulario Proof of Service of Summons, (POS-070)).
NOTICE TO THE PERSON SERVED: You are served

 

 

res 4. (2) as an individual defendant.
2. [7] @s the person sued under the fictitious name of (specify):
c delawes Ceapngsee
3, pal on behalf of (specify): feuskE LocisT? Ss, LL & “ ¢
under: L_] cep 416.10 (corporation) (TZ) CCP 416.60 (minor)
(7) cop 416.20 (defunet corporation) f_] Ccp 416,70 tconsetvaiee)
[7] CCP 416.40 (association or partnership) [—_] CCP 416.90 (authorized parson)
(C8) other (specify): 4 LUTE Lingitsty Company
4, dali date):
pa by personal delivery on (date) nasa to
reprettioen see” SUMMONS Se ei

SUM-100 [Rev, July 1, 2003}

 
 

Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.15 Page 3 of 34

CM-070

 

AORN 8 A TOUR SINGER Statp Bar number, ang address) a JOR COURT USE on
J. Jason Hill, Esq., SBN 179630 Ot Name
605 °C” Sweet, Suite 200
San Diego, CA 92101-5305
yeepuone no: 619.595.3001 raxno; 619.595.3000 _
ATIORNEY FOR (Nore: Plaintiff SHANNON NANGLE dao om TA
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO ae
strest anoress: 330 West Broadway
wang anoress: 330 West Broadway
em ano ze cope: San Diego 92101
aranch name: Central

 

 

 

 

 

 

 

 

CASE NAME:
Nangle v Penske Logistics, LLC
CIVIL CASE COVER SHEET C ignati CASE NUMBER.
[Z) vntimited Lo) Limited Complex Case Designation 37-201 1-00086681-CU-OE-CTL
(Amount (Amount C] Counter CT) Joinder ee
demanded demanded is Filed with first appearance by defendant ve
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) EFT:

 

 

Items 1-6 below must be cornpleled fsee instructions on pege 2).

 

 

 

 

7. Check one box below for the case type that best descnbes this case:
Auto Tort Contract Provisionally Complex Civil Litigation
puto (22) [1] Breach of contractiwarranty (08) (Cal. Rules of Gourt, rules 3.400-3.403)
Uninsured motorist (46) [Rule 3,740 collections (09) Cc Antirust/Trade reguiation (03)
Other PUPOJWD (Personal Injury/Property Cw Other collections (08) CL] Construction defect (10)
Damage/Wrongful Death) Tort Insurance coverage (18) [| Mass tort (40)
Asbestos (04) [1] other contract (37) [“"] Securities iitigation (28)
Product inability (24) Real Property (_] Environmental/Toxle tort (30)
Medical malpractice (45) [__] Eminent domainiinverse [-"} insurance coverage claims arising from the
[__} other PYPDD (23) condemnation (14) above fislod provisionaly complex case
Non-PUPDAWD (Other) Tort [1 Wrongful eviction (33) types (49)
P| susiness tort/unfair business practice (07) [__} Other real property (26) Enforcement of Judgment
[| civit sights (08) Untawful Detainer (7) Enforcement of judgment (20)
|} Defamation (13) Cl Commercial (34) Miscellaneous Civil Complaint
[J Fraud (18) (_] Residential (22) [} rico
[~] intetectual property (19) CJ Drugs (38) [] other complaint (not specified above) (42)
[] Professional negligence (25) Judiciat Review Miscellaneous Civil Petition
() other non-PUPDIWD tort (25) [J Asset forfeiture (05) ["] Partnership and corporate governance (21)
Employment L_] Patition 2: arbitration award (11) ["] other petition (not specified above) (43)
[_.] Wrongful termination (36) [_] Wat of mandate (02)
Other employment (15) (| Other judicial review (39)

 

2. This case Ly] ts L_lisnot complex under rule 3.400 of tha California Rules of Court. I the case is complex, mark the
factors requiring exceptional judicial management: . , ‘
a Large number of separately represented parties d. Large number of witnesses
b. Extensive motion practice raising difficult or novel. C] Coordination with related actions pending in one of more cours
issues that will be fime-consuming fo resolve in other counties, States, or countries, of in a federal court
G Substantial amount of documentary evidence ¢. [_] Substantial postjudgment judicial supervision

Ramedies sought (check al that apply): a7] monetary b. [7] nonmonetary; declaratory or injunctive relief ¢- |__lpunitive
Number of causes of action (specify); Five (5)

This case is (J igs not a class action suit,

_ S$ there are any known related cases, file and serve a nolice of related cas ‘Ou ITY e form CM-015.}

Date: 2/28/2011
J. Jason Hill, Esq. » ;
(TYPE OR PRINT HAME) “FETSBATURE OF PARTY OR ATTORNEY FOR PART)
NOTICE
» Plaintiff must file this cover sheet with the first paper fied in the action or
under the Probate Code, Family Code, or Welfare and Institutions Cod
in sanctions.
* File this cover sheet in addition to any cover sheet required by local court rule.
» If this case is Complex under rule 3.400 et seq, of the California Rules of Cour, you must serve a copy of this cover sheet on ail
other parties to the action or proceeding.
+ Unless this is a collections case under rule 3.740 of a complex case, this cover sheet will be used for statistical purposes only eta ,

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ocadding (except small claims cases of cases filed
al. Rules of Court, rule 3.220.) Failure to file may result

 

 

Form Adopied for Mandal Use Cal. Rules of Cour, rules 2,39, 3.220, 3.403.403, 3740;
° dudigial Counal a Caltocla CIVIL CASE COVER SHEET Cal. Siundards of Judicial Adminisyalion, std. 3.10

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Timothy D. Cohelan, Esq., SBN 60827 so ees LS
Michael D. Singer, Esq., SBN 115301 2 coe
J, Jason Hill, Esq., SBN 179630 _
‘COHELAN KHOURY SINGER en en fo BD
605 “C” Street, Suite 200 CR Te a
San Diego, CA 92101-5305 sorts
TEL: (619) 595-3001 LA
FAX: (619) 595-3000 .

Attorneys for Plaintiff SHANNON NANGLE
on behalf of herself and all others similarly situated,

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF SAN DIEGO
SHANNON NANGLE, on behalf herself and all ) CASE NO. 37-2011 -o00ge681.cu-O8.07L

others similarly situated,
, ) CLASS ACTION COMPLAINT FOR
) DAMAGES, INJUNCTIVE RELIEF, AND
) RESTITUTION
Plaintiffs, )-
) 1) Megal Deduction to Wages ~ Wage
) Forfeiture (Cal, Labor Code §§22 1-222)

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) 2) Failure to Pay Overtime Wages
\ (Cal, Labor Code §1194)

Neel”

} 3) Knowing and Intentional Failure to
) Provide Accurate Itemized Employee Wage
PENSKE LOGISTICS, LLC, a Delaware ) Statements (Lab. Code, §226(b))
corporation, and DOES 1 through 100, Inclusive, }
) 4) Knowing and Intentional Failure to
\ Timely Pay Wages Due Upon Separation
Defendants. } from Employment (Cal. Labor Code §203

5) Violations of the Unfair Competition
Law (Bus. & Prof. Code, §§ 17200-17208)

DEMAND FOR JURY TRIAL

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Class Action Complaint

 

 

 
 

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Plaintiff SHANNON NANGLE, on behalf of herself and all others similarly situated,
complain and allege as follows:
1
INTRODUCTION

 

1. ‘This case arises out an employer's use of an automatic 30-minute meal period
deduction for its hourly employees, which results in illegal wage deductions and wage forfeiture
for an ascertainable group of hourly employed drivers employed in the State of California. The
use of the “anto deduction” not only results in underpayment of wages for all hours actually
caused and suffered to work, but also results in the failure to provide accurate itemized wage
statements and the failure to timely pay all wages due for employees who separate from their
employment with the company. The preceding applies to certain California employees currently
employed by, or formerly employed by PENSKE LOGISTICS, LLC, a Delaware Corporation
(hereinafter referred to as “PENSKE” or “Defendant”) conducting business throughout the State
of California. The proposed Plaintiff Class consists of all California-based current and former
employees of Defendant who, within the last 4 years prior to the commencement of this action
were (1) hourly paid drivers holding a valid commercial vehicle license; (2) were assigned to
Defendant’s non-Whirlpool delivery accounts and (3) were subject to Defendant’s use of an
automatic 30 minute wage deduction policy.

2.. During the class period, which is defined as four years prior to the commencement
of this action, Defendant implemented a uniform and systematic policy that automatically
deducted 30 minutes of work time from the employee’s wages for shifts exceeding 6 hours in
length, For shifts exceeding 10 hours, Plaintiff is informed and believes, and based thereon
alleges, that Defendant automatically deducted an additional 30 minutes of time from the
emiployee’s working hours that were otherwise eligible for hourly pay. Ostensibly, Defendant
implemented this policy to provide for “meal periods.” But in fact, Defendant takes the position
that such meal periods are not required under California law, and uses the automatic deduction to
engage in wage theft against the Plaintiff and the proposed Plaintiff Class. The result is that

employees are docked up to an hour of pay from wages earned, Plaintiff was subjected to this

 

Class Action Complaint -i-

 
 

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policy and lost wages as a result of it, PENSKE implemented no policy, practice or procedure
for Plaintiff or other affected employees to recover automatically deducted time on days during
the proposed Class Period, when they were not provided and did not take a continuous 30-
minute, duty free and uninterrupted break.

3. Plaintiff, on behalf of herself and all proposed members of the Plaintiff Class,
brings this action pursuant California Labor Code Section 221-222, 203, and 226 in order to
recover illegally deducted wages that resulted from Defendant’s policy. Plaintiff, on behalf of
herself and all‘other proposed members of the Plaintiff Class also brings this action pursuant to
Business and Professions Code sections 17200-17208, seeking injunctive relief, restitution, and
disgorgement of all benefits Defendant enjoyed from. their use of the automatic deduction policy
to skim employees of wages earned.

i.
JURISDICTION AND VENUE

4, The amount in controversy arising from the actions and statutory violations as
further described herein is sufficient to implicate the general jurisdiction of the Superior Court in
and for the County of San Diego,

5, Based on information and belief, and records maintained pursuant to the
California Secretary of State, venue as to each Defendant is proper in this judicial district,
pursuant to Code of Civil Procedure section 395, as Defendant is an out of state corporation,
conducts business, maintains an office address and operates facilities in the County of San Diego,
and has failed to identify any principal place of business with the California Secretary of State, »
such that venue is proper in any county where the Defendants may be located. Further, based on
information and belief, some or all of the alleged harms herein occurred as putative class
members ate employed in the County of San Diego..

6, On information and belief, the California Superior Court has jurisdiction in this
matter because there is no federal question at issue as the issues herein are based solely on
Califomia statutes and law including the California Labor Code, Industrial Welfare Commission

Wage Orders, Code of Civil Procedure, Rules of Court, and Business and Professions Code.

 

Class Action Complaint -2-

 

 
 

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Furthermore, the case is not appropriate for removal under the Class Action Fairness Act
(“CAFA”) as Plaintiff is informed and believes, and thereupon alleges that the required monetary
amount in controversy is not Satisfied. Specifically, Plaintiff alleges that her individual claim
does not exceed $74,999.00 and the individual claims of all putative class members are less than
the required amount in controversy necessary to invoke federal subject matter jurisdiction under
22 U.S.C. Section 1332. No federal controversy is alleged and, based upon information and
belief, the aggregate amount of all class members claim is less than $5,000,000.00. Plaintiff
further alleges that, based on initial investigation, the aggregate $5,000,000.00 damage threshold
cannot be established to exist as to the amount in controversy by the Defendant to a legal
certainty as required by federal law, and therefore does not implicate jurisdiction under 28 U.S.C.
Section 1332(d). Plaintiff further alleges in the affirmative that this action falls within the
mandatory and/or discretionary “local case or controversy” exemption from CAFA jurisdiction as
all class members are or were residents of the State of California.
Oy.
THE PARTIES

A The Plaintiffs

7. Plaintiff SHANNON NANGLE is a resident of the State of California, At all
relevant times herein, Plaintiff NANGLE was employed by Defendants as a Driver with a valid
commercial drivers’ license and was assigned to Non- Whirlpool accounts in and around San
Diego County, Orange County and Los Angeles County, Plaintiff NANGLE was assigned to
non-Whirlpool delivery accounts by PENSKE, was paid on an hourly basis and was subject to
PENSKE’s automatic deduction policy. Plaintiff NANGLE lost wages for time actually spent
working as a result of PENSKE’s automatic deduction policy. Plaintiff NANGLE’s work time
statements were inaccurate in that the hours worked were deducted by at least 30 minutes per day
and were not reinstated by PENSKE.
B. The Defendants

8. Defendant, PENSKE LOGISTICS, LLC, a Delaware Corporation, and any

subsidiaries or affiliated companies, are engaged in the ownership and operation of facilities

 

 

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Class Action Complaint “3-

 
 

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throughout California. During the liability period, Defendant employed Plaintiffs and similarly
situated persons as PENSKE’s Non-Exempt Employees within California. On information and
belief, PENSKE conducts business in and throughout the State of California, and has business
presence in the County of San Diego.

9. Defendant also operates many subsidiaries or affiliated companies, and is engaged
in the ownership and operation of facilities throughout California. During the liability period,
Defendant employed Plaintiffs and similarly situated persons as PENSKE’s hourly paid non-
Whirlpool account drivers within California, On information and belief, Penske is conducting
business in and throughout the State of California, and has business presence in the County of
San Diego, Plaintiff was assigned to routes in San Diego, and worked without continuous 30
minute break periods, but was subject to the automatic wage deduction in any event.

10. The true names and capacities, whether individual, corporate, associate, or
otherwise, of Defendants sued here in as DOES | through 100, inclusive, are currently unknown
to Plaintiffs, who therefore sue Defendants by such fictitious names under Code of Civil
Procedure section 474. Plaintiff is informed and believes, and based thereon alleges, that each of
the Defendants designated herein as a DOE is legally responsible in some manner for the
unlawful acts referred to herein, Plaintiff will seek leave of court to amend this Complaint to
reflect the tue names and capacities of the Defendants designated hereinafier as DOES when
such identities become known.

ll.  Plaintiffis informed and believes, and based thereon alleges, that each Defendant
acted in all respects pertinent to this action as the agent of the other Defendants, carried out a
joint scheme, business plan or policy in all respects pertinent hereto, and the acts of each
Defendant are legally attributable to the other Defendants.

IV.
GENERAL ALLEGATIONS

12. Defendant operates and, at all times during the liability period, has conducted
business throughout the State of California for purposes of business inventory management and

merchandise delivery system in California. Defendant employs non-exempt hourly employees

 

Class Action Complaint ~4-

 
 

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with commercial driver’s license to drive PENSKE’s trucks in order to deliver merchandise to
contracting third parties such as “BIG LOTS,” “MISSION FOODS,” “CVS,” “LONG'S
DRUGS,” and other entities. The proposed Plaintiff Class specifically excludes drivers who
were assigned to the Whirlpool appliance delivery and installation account. The employees are
subject to PENSKE's hourly pay rates for all hours actually caused or suffered to work.

13. Upon information and belief, Plaintiff alleges that she and the proposed Plaintiff
class were subject to Defendant’s systematic use of an “automatic deduction” policy, wherein, all
drivers would have a minimum of 30-minutes deducted from reported work time each day so that
Defendant could ostensibly claim that it provided “meal periods.” In truth and fact, however,
the policy was used 16 skim and illegally deduct eligible work time from employees and to
underpay for the amount of work performed in any given work day. This practice and policy
constituted an illegal scheme to engage in wage forfeiture and granted PENSKE a windfall of
productive work time without pay to the affected employees.

14.  Plaintiffis informed and believes, and based thereon allege, that Defendants
currently employ, and during the relevant time period has employed, over 100 employees in the
State of California in commercial driver positions and assigned them to work as hourly
employees servicing non-Whirlpool accounts, such as delivery accounts for “BIG LOTS,”

15. During the class period, PENSKE used a computer system to record the Plaintiff
Class Members’ time. This system automatically deducted 30 minutes from each Plaintiff Class
Members work time when calculating hours worked. This deduction occurred without regard to
whether or not a 30 minute meal period was taken and constitutes a violation of the California
Labor Code, appropriate regulations, and is unfair and deceptive to employees of the Defendant.
Additionally, Penske management instructed Plaintiff Class Members to log meal periods even if
the Plaintiff Class did not take a meal period. PENSKE had no policy, procedure or practice to
allow for the employees to recovery wages lost due to the automatic deduction policy.

v. .
' CLASS ACTION ALLEGATIONS

16. Plaintiff brings this action on behalf of herself and all others similarly situated as a

 

 

Class Action Complaint “5-

 
 

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class action pursuant to section 382 of the Code of Civil Procedure. Plaintiff seeks to represent 4
Class composed of and defined as follows:

Plaintiff Class:

All of Defendant’s cuxrent and former California-based drivers,
specifically excluding drivers assigned to the Defendant’s
Whirlpool Account, who were (1) employed by Defendants at any
time four years prior to the filing of this action through the date of
trial (“Relevant Time Period”); (2) were ass igned to Defendants’
non- Whirlpool delivery accounts to work on an hourly basis; and
(4) were subject to Defendants’ 30 minute automatic deduction
policy.

17. Plaintiff also seeks to bring this action on behalf of herself and all other similarly
situated persons in a sub-class of the Plaintiff Class, which is composed of and defined as
follows:

The Wage Deduction Sub-Class: All Plaintiff Class Members who worked
without taking a 30 minute duty free meal period but whose hourly wages were
automatically deducted by Defendant’s “auto—deduction” policy.

18. Plaintiff also seeks to bring this action on behalf of herself and all other similarly
situated persons in a sub-class of the Plaintiff Class, which is composed of and defined as
follows:

The Overtime Subclass: All Plaintiff Class Members who worked hours eligible
for overtime compensation, but whose overtime pay was unpaid and/or reduced as
a result of Defendant’s 30-minute “auto—deduction” policy.

19. Plaintiff also seeks to bring this action on behalf of herself and all other simuarly
situated persons in a sub-class of the Plaintiff Class, which is composed of and defined as
follows:

The Wage Statement Sub-Class: All Plaintiff Class Members who, as a result of
Defendant's “auto-deduction” policy, received inacourate wage statements that
understated the actual hours the employee worked.

20. Plaintiff also seeks to bring this action on behalf of herself and all other similarly
situated persons in a sub-class of the Plaintiff Class, which is composed of and defined as
follows:

The Separation Pay Subclass: All Plaintiff Class Members who did not receive all

wages due within 72-hours of their separation/termination from their employment
with Defendant.

 

Class Action Complaint ~6-

 

 

 
 

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21. Plaintiff also seeks to bring this action on behalf of herself and all other similarly
situated persons in a sub-class of the Plaintiff Class, which is composed of and defined as
follows:

The UCL Sub-Class: All Plaintiff Class Members who were
subject to the wage deduction policy and who are owed restituion
for hours worked without pay. .

3). Plaintiff reserves the right under Rule 3.765(b), California Rules of Court, to
amend or modify the class description with greater specificity or further division into subclasses
or limitation to particular issues.

. 23, This action has been brought and may be properly maintained as a class action
under the provisions section 382 of the Code of Civil Procedure because there is a well-defined
community of interest in the litigation and the proposed Class is easily ascertainable.

A. Numerosity

24. The potential members of the Class as defined are so numerous that joinder of all
the members of the Class is impracticable. While the precise number of Class Members has not
been determined at this time, Plaintiffs are informed and believe that Defendant currently
employs, and during the relevant time periods employed, hundreds of employees in the State of
California who were subject to Defendant’s auto-deduction policy and suffered wage forfeiture.

25. Accounting for employee turnover during the relevant periods necessarily
increases this number substantially. Upon information and belief, Plaintiffs allege Defendant's:
employment records would provide information as to the number and location of all Class
Members. Joinder of all members of the proposed Class is not practicable, nor are the individual
damages sufficient to meaningfully allow for practical resolution through individualized
litigation.

B.  Commonality

26. There are questions of law and fact common to the Class that predominate over
any questions affecting only individual Class Members. These common questions of law and
fact include, without limitation:

1. Whether Defendant violated California labor law by subjecting the

 

 

Class Action Complaint -7~

 

 
 

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Plaintiff and the proposed Plaintiff class to an automatic deduction
policy without any mechanism to recover wages for time when no
30-minute break was provided;

2. Whether Defendant’s auto-deduction policy resulted in the non-
payment or reduced payment of overtime wages for all overtime
hours worked;

3. Whether Defendant violated California labor law by failing to
provide accurate itemized wage statements;

4, Whether Defendant violated California labor law by failing to pay
Plaintiff Class members all timely wages due upon separation from
their employment with Defendant.

5. Whether Plaintiffs and the members of the Plaintiff Class are
entitled to equitable relief pursuant to Business and Professions
Code sections 17200, et. seq.

Cc. Typicality

27. The claims of the named Plaintiff is typical of the claims of the proposed Plaintiff
Class. Plaintiff and all members of the Class sustained injuries and damages arising out of and
caused by the Defendant’s common course of conduct in violation of laws, regulations that have
the force and effect of law, and statutes as alleged herein, Plaintiff has standing to bring this
action and has suffered the harm, damages and lost wages alleged herein during her employment
with the Defendant as direct result of the auto-deduction policy, Plaintiff reasonably estimates
that approximately 4 days per week, her hours of work would be automatically deducted for a
continuous 30-minutes, when in fact, she was not provided with a 30-minute continuous break
period free from employer control, The result was the underpayment of wages for all hours
actually caused or suffered to work, including elimination or diminishment of overtime
compensation on qualifying shifts. .
D. Adequacy of Representation

42 Plaintiff will fairly and adequately represent and protect the interests of the

 

Class Action Complaint ~8-

 

 

 
 

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members of the Class. Counsel who represent Plaintiffs are competent and experienced in
litigating large employment class actions.
E. Superiority of Class Action

29.  Aclass action is superior to other available means for the fair and efficient
adjudication of this controversy, Individual joinder of all Class Members is not practicable, and
questions of law and fact common to the Class predominate over any questions affecting only
individual members of the Class. Each member of the Class has been damaged and is entitled to
recovery by reason of Defendant’s illegal policy and/or practice of failing to pay all hourly wages
due and by engaging in a policy that resulted in wage forfeiture. Class action treatment will allow
those similarly situated persons to litigate their claims in the manner that is most efficient and
economical for the parties and the judicial system. Plaintiffis unaware of any difficulties that are
likely to be encountered in the management of this action that would preclude its maintenance as
a class action, Some of the damages for the violations alleged herein are small and amount to
just a few hundred dollars for some employees impacted by Defendant’s policy and practice.
Without the ability to use class action procedure, the Defendant would essentially be immune
from engaging in collectively hundreds of thousands of dollars worth of wage skimming with no
employee individually having sufficient ability to retain counsel to recover said sums in a manner
that is economically viable.
F, Manageability of Class Action

30. The nature of this action and the nature of laws available to Plaintiff make use of
the class action format a particularly efficient and appropriate procedure to afford relief to
Plaintiff for the wrongs alleged herein. Specifically, the primary claims alleged turn upon
Defendant’s own uniform, systematic practice of automatically deducting work time of at least
30-minutes for affected job positions without any individual scrutiny or review of whether the
employees actually took time off from work during their work day for a continuous,
uninterrupted and duty free meal period. Therefore, the propriety of the classification scheme
applicable to all employees holding the job titles and positions as described herein is a

predominant question of fact that is easily cable of being discovered through manageable devices

 

Class Action Complaint 9.

 
 

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of common proof such as statistical random sampling, survey evidence based on scientific
ptinciples, representative testimony, documentary evidence and common practices/procedures of
the Defendant in treating each of the class members as a homogeneous group in the payment of
their wages. Damages, if any, suffered by each member is capable of being shown by several
means of common proof and limited by individual showings of entitlement to recovery that can
be professionally administered and tailored to the facts and circumstances of the case.
VIL
CAUSES OF ACTION

 

FIRST CAUSE OF ACTION
Tegal Wage Deduction Resulting in Wage Forfeiture

(Labor Code §221-222)
31. Plaintiff incorporates all preceding paragraphs as if fully alleged herein.

32. Plaintiff alleges that during her employment with Defendant, she worked as an
hourly commercial driver for the Defendant’s non-Whirlpool delivery accounts in the State of
California, She separated from employment in March 2010. At all relevant times, Plaintiff
taintained a current commercial vehicle license and was assigned delivery routes that were to be
paid by Defendant on an hourly wage basis. During the course of Plaintiff's employment,
Defendant had in place a policy, practice and procedure to automatically deduct 30-minutes from

total work time recorded from start to finish of Plaintiffs work day. This deduction was taken to

ostensibly provide drivers with a 30-minute meal period, but in fact, very few uninterrupted and

duty free meal periods were provided, which resulted in a loss of pay ~ illegally deducted by .
Defendant from Plaintiff's total hourly work time. Over the course of her employment, Plaintiff
estimates that $100's of dollars were skimmed from her wages as a result of Defendant’s auto-
deduction policies. Defendants maintained no policy, procedure or recourse for Plaintiff and the
proposed Class to recover wages lost by Defendant's policy.

33. Asaresult of the unlawful acts of Defendant, Plaintiff and the proposed Plaintiff
Class have been deprived actually earned but unpaid wages in amounts to be determined at tnal,
and are entitled to recovery of such amounts, plus interest thereon, attorneys’ fees, and costs of

suit.

 

Class Action Complaint -10-

 

 
 

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SECOND CAUSE OF ACTION
FAILURE TO PAY OVERTIME WAGES
(Labor Code § 1194)

34,  Plaintiffincorporates all preceding paragraphs as if fully alleged herein.

35. Plaintiff and members of the Plaintiff Overtime Subclass were eligible for
overtime pay on qualifying shifts. As a result of the Defendant’ s “auto-deduction” policy, on
some shifts where Plaintiff and the proposed subclass were entitled to overtime pay at a rate of
1.5x the regular hourly rate of pay, overtime was eliminated and/or reduced by 30-minutes on
days when Plaintiff and the proposed subclass worked without a continuous 30-minute
uninterrupted break period. For example, on a day when Plaintiff would work a shift of 8.5
hours, and not have a 30-minute continuous break period, the extra half hour of overtime eligible
pay would not be paid due to Defendant’s auto-deduction policy. Similarly, on days when
Plaintiff might work 9 hours without a continuous 30 minute uninterrupted break period, the
auto-deduction would be applied to diminish overtime compensation from one hour to only one-
half hour pay at 1.5x Plaintiff’s hourly rate. The amount of unpaid and skimmed overtime taken
from Plaintiff and the proposed class for work performed for Defendant will be shown in an
amount according to proof. Pursuant to Labor Code section | 194, the Plaintiff Class members
seek the payment of all lost or diminished overtime compensation which they earned and accrued
after four (4) years prior to filing of this complaint, according to proof.

36. Additionally, Plaintiff and Plaintiff Class members are entitled to attorneys” fees,
and costs, pursuant to California Labor Code section | 194 and prejudgment interest.

THIRD CAUSE OF ACTION
Knowing and Intentional Failure to Comply With Itemized Wage Statement Provisions
(Labor Code §§226(b), 1174, 1175)

37. Plaintiff incorporates all preceding paragraphs as if fully alleged herein.

38. Section 226(a) of the California Labor Code requires Defendant to itemize in
wage statements all deductions from payment of wages and to accurately report total hours
worked by Plaintiff and members of the Plaintitf Class. Defendant has knowingly and
intentionally failed to comply with Labor Code section 226(a) on each and every wage statement

that should have been provided to Plaintiff and members of the Plaintiff Class. Specifically,

 

Class Action Complaint -{l-

 

 
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.28 Page 16 of 34

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Defendant knew that on any day that a driver in the proposed Plaintiff class had 30-minutes of
work time automatically deducted but did not in fact cease all work functions for 30-minutes in
length, that the employee was being illegally subject to a wage deduction for hours caused or
suffered to work. Defendant maintained the policy despite this knowledge and despite having no
policy or procedure for the employees to recover time automatically deducted.

39. Section 1174 of the California Labor Code requires Defendants to maintain and
preserve, in a centralized location, among other items, records showing the names and addresses
of all employees employed, payroll records showing the hours worked daily by and the wages
paid to its employees. Defendant has knowingly and intentionally failed to comply with Labor
Code section 1174. Defendant’s failure to comply with Labor Code §1174 is unlawful pursuant

to Labor Code §1175.

40. IWC Wage Order 7-2001(7) requires Defendant to maintain time records
showing, including but not limited to, when the employee begins and ends each work period,
meal periods, and total daily hours worked in an itemized wage statements, and must show all
deductions from payment of wages, and accurately report total hours worked by Plaintiffs and the
members of the proposed class.

41. Defendant, and each of them, unlawfully placed the burden of recording work
time and hours on employees in the Plaintiff class, and still subjected the employees to automatic
deductions from working hours without justification.

42. Asa consequence of Defendant’s knowing and intentional failure to comply with
Labor Code section 226(a), Plaintiff and Wage Statement Subclass are entitled to actual damages
or penalties not to exceed $4000 for each employee pursuant to Labor Code section 226(b),
together with interest thereon and attorneys’ fees and costs. |

FOURTH CAUSE OF ACTION
Failure to Timely Pay Wages Due at Termination in Violation of
California Labor Code § 203
43, Plaintiff incorporates all preceding paragraphs as though fully set forth herein.
44. Defendant had a consistent and uniform policy, practice and procedure of

willfully failing to lawfully pay the earned and unpaid overtime wages of Defendant’s former

 

Class Action Complaint -|2-

 
 

 

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employees, Labor Code sections 20] and 202 requires Defendant to pay its employees all

wages due within 72 hours of termination of employment. Section 203 of the Labor Code
provides that if an employer willfully fails to timely pay such wages the employer must, as a
penalty, continue to pay the subject employee’s wages until the back wages are paid in full or an
action is commenced. The penalty cannot exceed 30 days of wages.

45, Plaintiff and Members of the Waiting Time Subclass are no longer employed by

Defendant. They were either discharged from or quit Defendant's employment, but were not

paid all lawful wages due as a result of Defendant's use of the automatic deduction program.

46. Defendant willfully failed to pay LC203 Subclass Members a sum certain at the
time of their termination or within sev enty-two (72) hours of their resignation, and failed to pay
those sums for thirty (30) days thereafter. Defendant knew that by using the auto-deduction
policy against its hourly employees that it was understating the amount of time worked and
wages owed to said employees on any day that 30-minute deduction was levied but for which the
employee continued to work. Defendant knew and has been placed on notice that such events
occurred and resulted in an illegal wage forfeiture, yet its policy and practices continue.

47. Defendant's willful failure to pay wages to the LC203 Subclass Members
violates Labor Code section 203 because Defendant knew wages were due to the LC203 Subclass
Mernbers, but Defendant failed to pay them.

48. Plaintiff and Members of the “Waiting Time’ Subclass. are entitled to penalties
pursuant to Labor Code section 203, in the amount of each class member’s daily wage multiplied
by thirty (30) days.

FIFTH CAUSE OF ACTION
Violations of the Unfair Competition Law

(Bus. & Prof, Code, §§ 17200-17208)
49. Plaintiff incorporates all preceding paragraphs as if fully alleged herein.
50.  Defendant’s failure to pay for all working hours, as alleged herein, constitute
unlawful and deceptive activity prohibited by Business and Professions Code section 17200 et
seq.

51. The actions of Defendant in failing to pay Plaintiffs and members of the Plaintiff

 

Class Action Complaint -13-

 

 
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Class in a lawful manner, as alleged herein, constitute false, unfair, fraudulent and deceptive
business practices, within the meaning of Business and Professions Code section 17200, er. seq.

52. Plaintiff brings this cause individually and as a representative of all others subject
to Defendant’s unlawful acts and practices.

§3, Asa result of their unlawful acts, Defendant has reaped and continue to reap
unfair benefits at the expense of Plaintiff, and the Class she seeks to represent. Defendant should
be enjoined from this activity, caused to specifically perform its obligations, and made to
disgorge these ill-gotten gains and restore to Plaintiff and the members of the Plaintiff Class the
wrongfully withheld wages and/or other monies pursuant to Business and Professions Code
section 17200 et seq. Plaintiff is informed and believes, and thereon alleges, that Defendant is
unjustly enriched through its use of the automatic 30 minute deduction system by not having to
pay wages for all time employees spend working.

34, Plaintiff is informed and believe, and thereon allege, that Plaintiff and members
of the proposed Plaintiff Class are prejudiced by Defendant’s unfair trade practices by having
their wages skimmed by at least 30 minutes of work time on days when no 30-minute cessation
of work is provided.

55, As a direct and proximate result of the unfair business practices of Defendants,
and each of them, Plaintiffs, individually and on behalf of all employees similarly situated, are
entitled to equitable and injunctive relief, including full restitution, specific performance, and/or
disgorgement of all wages which have been unlawfully withheld from Plaintiffs and members of
the Plaintiff Class as a result of the business acts and practices herein and enjoining of Defendant
to cease and desist from engaging in the practices described herein,

56, The illegal conduct alleged herein is continuing, and there is no indication that
Defendant will not continue such activity into the future. Plaintiffs allege that if Defendant is not
enjoined from the conduct set forth in this Complaint, they will continue to fail to provide hourly
wages, fail to provide overtime wages for off-the-clock working while clocked out for meal
periods, fail to provide meal periods or appropriate compensation in lien thereof, fail to provide

rest periods or appropriate compensation in lieu thereof, and will fail to pay and avoid paying

 

Class Action Complaint «|4-

 
 

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appropriate taxes, insurance, and unemployment withholdings.

57.

Plaintiff further requests that the court issue a preliminary and permanent

injunction prohibiting Defendant from continuing to fail to pay hourly wages, require employees

to work off-the-clock while having time automatically deducted for meal periods that are not

provided.

Vi.
PRAYER FOR RELIEF

‘WHEREFORE, Plaintiff prays for judgment as follows:

I.

That the Court issue an Order that this action may be maintained as a class action
and certify the Class and subclasses herein, appointing the named Plaintiff as
representative of all others similarly situated, and appointing the law firm |
representing the named Plaintiff as counsel for the members of the Class and
subclasses;

For compensatory damages in an amount according to proof;

For economic damages in an amount according to proof;

For interest accrued to date under the California Labor Code, including under
Labor Code § 221;

For costs of suit incurred herein under the California Labor Code, including under
Labor Code § 221; _

For reasonable attorneys’ fees under the California Labor Code, including under
Labor Code § 221 and/or other applicable statute,

For unpaid overtime wages that were earned, but not paid in full as a result of an
improper deduction of work time, pursuant to Labor Code § 1194,

For attorneys fees pursuant to Labor Code § 1194.

For “waiting time penalties” under California Labor Code § 203,

For damages according to proof, as set forth in California Labor Code § 221;

For an order preliminarily and permanently enjoining Defendants from engaging

 

Class Action Complaint -L5-

 
 

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in the practice challenged herein;
12. For an order that Defendant makes restitution fo Plaintiff and the class identified
herein due to its unlawful business practice as described herein, including

disgorgement of their unlawfully-obtained revenues, earnings, profits,

compensation and benefits, pursuant to California Business and Professions Code

§§ 17203 and 17204; .

13. Based on investigation, information and belief, the damages, back-wages,
restitution, penalties, interest and attorneys’s fees do not exceed an aggregate of
$4,999,999.99 and NANGLE’s individual claim does not exceed $74,999.99,

14. For such other and further relief that the Court may deem proper and just.

COHELAN SINGER

  

Dated: February 28, 2011 By:

 

Miehael D. Singer, Esq.

‘Jason Hill, Esq.
Attorneys for Plaintiff, SHANNON
NANGLE and the putative class.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands trial of her claims by jury to the extent authorized by law,

 

     
 

COHEL RY & SINGER
Dated: February 28, 2011 By:
sehael D. SingerEsq._
, Jason Hill, Esq,
Attorneys for Plaintiff, SHANNON
NANGLE and the putative class.

 

Class Action Complaint «16-

 
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.33 Page 21 of 34

 

ATTORNEY OR PARTY vere ATTORNEY (Name, Stars Bar number, and address). FOR COURT USE ONLY

Michael D. Singer. &sq, (SBN 115301)
COHELAN KHOURY & SINGER
505 C Street, Suite 200, San Diego California 92101

TeLePuone AD. 619.595,3001 FAX NO{Cptional: 619.595.3000 F { L — D
EMAL ADDRESS (Optional): lech ab tha Gunadiar Pout,

ATTORNEY FOR (tamer Plaintiff Shannon Nangle

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO MAR 9 4 2011
CENTRAL DIVISION, COUNTY COURTHOUSE, 220 W. BROADWAY, SAN DIEGO, CA 92101 :
CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92404 .
CENTRAL DIVISION, FAMILY COURT, 1501 STH AVE., SAN DIEGO, CA 92104 C REIN Deputy
CENTRAL DIVISION, MADGE BRADLEY, 1409 4TH AVE., SAN DIEGO, CA 92104 By. G. '

DM KEARNY MESA, 8950 CLAIREMONT MESA BLYVD., SAN DIEGO, CA 92423

CENTRAL ON,

CENTRAL DIVISION, JUVENILE COURT, 2851 MEADOW LARK DR, SAN DIEGO, CA 82123
NORTH COUNTY DIVISION, 325 5. MELROSE OR, VISTA, CA 92081

EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020

RAMONA BRANCH, 1428 MONTECITO RD. RAMONA, CA 92085

SOUTH COUNTY DIVISION, 500 83RD AVE., CHULA VISTA, CA 91910

PLAINTIFF(S)
Shannon Nanole
DEFENDANT(S} ; WUDGE

Penske Logistics, LLC, et al. Hon. Jeffrey B. Barton
IN THE MATTER OF DEPT

 

 

 

 

A MINOR | C-69
CASE NOMBER

37-2011-00086681-CU-OE-CTL

 

PEREMPTORY CHALLENGE

 

 

 

 

Michael D. Singer ‘is (] aparty §&] an attomey fora party in the
above-entitied case and declares that_Hon. Jeffrey B. Barton , the judge to whom this case ts
assigned, is prejudiced against the party or the party's atiorney or the interests of the party or the party's atiomey such that the
said party or parties belleve(s} that a fair and impartial trial or hearing cannot be had before such judge.

WHEREFORE, pursuant to the provisions of Code Civ. Proc. §170.6, | respectfully request that this court issue its order
reassigning said case to another, and different, judge for further proceedings.

'

| declare under penalty of perjury under the laws of the State CWouk ey is true and correct.
Nf

Date: March 3, 2014 _

Signature

 

ORDER OF THE COURT

f opanted - This case is referred to Presiding/Supervising Department for reassignment and a notice will be mailed to counsel.

 

 

 

[} DENIED ,
Date: MAR 07 201f JEFFREY B. BARTON
Judge/Commissioner/Referee of the Superior Court
FOR OFFICE USE ONLY
This case has been reassigned to Judge per Presiding/Supervising Judge

 

on

 

SDSC CIV-249 (Rev. 10/10} PEREMPTORY CHALLENGE Code Cry, Proc. § 173.8

 
 

 

Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.34 Page 22 of 34

Cn

 

SUPERIOR COURT OF GALIFORNIA, COUNTY OF SAN DIEGO FOR COURT USE ONLY

STREET ADDRESS: 330 West Broadway
MAILING ADDRESS: 3390 Wast Broadway
CITY AND ZIP CODE: = San Diego, CA 92101
BRANCH NAME: Central
TELEPHONE NUMBER: (619) 450-7061

PLAINTIFF: Shannon Nangle
DEFENDANT: Penske Logistics LLC
Shor Title; Nangle vs. Penske Logistics LLC

 

 

 

 

CASE NUMBER:
NOTICE OF CASE REASSIGNMENT 37-201 1-00086681-CU-OE-CTL.

 

 

 

 

Filed : 02/28/2011 TECENVED
EFFECTIVE IMMEDIATELY, THE ABOVE-ENTITLED CASE HAS BEEN REASSIGNED
MAR 14 2011

VELA CUT A ERSTE STEEN

 

 

to Judge John S. Meyer, in Department C-61
due to the following reason: 170.6

CODELAN KHOURY & SINGER

 

All subsequent documents filed in this case must include the name of the new judge and the department number on the first
page immediately below the number of the case. All counsel and self-represented litigants are advised that Division I! of the
Superior Court Rules is strictly enforced. It is the duty of each plaintiff (and cross-complainant) to serve a copy of this notice
with the complaint (and cross-complaint).

ANY NEW HEARINGS ON THIS CASE WILL BE SCHEDULED BEFORE THE NEW JUDICIAL OFFICER

 

Page: i

(Rev 6-05} NOTICE OF CASE REASSIGNMENT
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.35 Page 23 of 34

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO

Central
330 West Broadway
San Diego, CA 92101

 

SHORT TITLE: Nangle vs. Penske Logistics LLC

 

 

CLERK’ SER Mm CASE NUMBER:
LERK’S CERTIFICATE OF SERVICE BY MAIL 37-2014-00086681-CU-OE-CTL

 

 

 

EAN THEE

| certify that | am not a party to this cause. | certify that a true copy of NOTICE OF CASE REASSIGNMENT was
mailed following standard court practices in a sealed envelope with postage fully prepaid, addressed as indicated
below. The certification occurred at San Diego, California on 03/09/2011. The mailing occurred at Sacramento

on 03/10/2011.

Clerk of the Court, by: ” ro an , Deputy

JAMES J HILL
608 C STREET # 200
SAN DIEGO, CA 92101

 

CLERK'S CERTIFICATE OF SERVICE BY MAIL

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Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.36 Page 24 of 34

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS: — 330 West Smacway

MAILING ADORESS: 330 West Broadway
CITY AND ZIP CODE: San Diego, CA 82104
BRANCH NAME: Canvat

TELEPHONE NUMBER; (6179) 450-7089

 

PLAINTIFF(S) / PETITIONER(S): Shannon Nangle

 

DEFENDANT(S)/ RESPONDENT(S). Penske Logistics LLC

 

NANGLE VS. PENSKE LOGISTICS LLC

 

 

 

 

 

CASE NUMBER:
NOTICE OF CASE ASSIGNMENT 37-2011-00086681-CU-OE-CTL
Judge: Jeffrey B. Barton Deparment: C-69

COMPLAINT/PETITION FILED: 02/28/2011

CASES ASSIGNED TO THE PROBATE DIVISION ARE NOT REQUIRED TO COMPLY WITH THE CIVIL
, REQUIREMENTS LISTED BELOW

 

IT 1S THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH
THE COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION
FORM (SDSC FORM #ClV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC
FORM #CIV-359}, AND OTHER DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN
PUBLISHED AS DIVISION Il, AND WILL BE STRICTLY ENFORCED.

TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have
requested and been granted an extension of time. General civil cases consist of all civil cases except: small
claims proceedings, civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship,
juvenile, and family law proceedings.

COMPLAINTS: Complaints and all other documents listed In SDSC Local Rule 2.1.5 must be served on all named
defendants, and a Certificate of Service (SDSC form #CIV-345) filed within 60 days of filing.

DEFENDANT'S APPEARANCE: Defendant must generaily appear within 30 days of service of the complaint. (Plaintiff
may stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (DSC Local

Rule 2.1.6)

DEFAULT: If the defendant has not generally appeared and no extension has been granted, the plaintiff must request
default within 45 days of the filing of the Certificate of Service. (SDOSC Local Rule 2.1.7)

CASE MANAGEMENT CONFERENCE: A Case Management Conference will be set within 150 days of filing the
complaint.

ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING
VARIOUS ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE
MANAGEMENT CONFERENCE. PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE
DISPUTE RESOLUTION (SDSC FORM #CIV-359).

YOU MAY ALSO BE ORDERED TO PARTICIPATE IN ARBITRATION. IF THE CASE IS ORDERED TO ARBITRATION
PURSUANT TO CODE CIV. PROC. 1411.11, THE COSTS OF ARBITRATION WILL BE PAID BY THE COURT
PURSUANT TO CODE CIV. PROC. 1141.28. .

FOR MORE INFORMATION, SEE THE ATTACHED ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION
FORM (SDSC FORM #CiV-730)

SDSC GWV-721 (Rev. 11-06} Page; {
NOTICE OF CASE ASSIGNMENT
 

Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.37 Page 25 of 34

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO

ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION

 

CASE NUMBER: 37-201 1-00086681-CU-OE-CTL CASE TITLE: Nangle vs. Penske Logistics LLC

NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
(1) this Alternative Dispute Resolution (ADR} information form (SDSC form #CIV-730),
(2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
(3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without fillng a lawsuit, and most civil lawsuits are resolved without a trial. The cours,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects thal litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and It may be beneficial to do this early in the case. ,

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the

particular case:

Potential Advantages Potential Disadvantages

+ Saves time > May take more time and money if ADR does not

+ Saves money resolve the dispute

+ Gives parties more control over the dispute + Procedures to learn about the other side’s case (discovery),
resolution process and outcome jury tral, appeal, and other court protections may be lirnited
Preserves or Improves relationships or unavailable

Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate thern on the court's ADR

webpage at htto:/Avww.sdcourt.ca.gov/adr.

Mediation: A neutral person called a “mediator” helps the parties communicate in an effective and constructive manher
so they cam try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so,
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an “arbitrator” considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accapt the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would fike to avoid the
formality, time, and expense of a thal.

 

SDSC O1V-780 (fev 12-10) ALTERNATIVE DISPUTE RESOLUTION (ADR} INFORMATION Page: ¥
 

Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.38 Page 26 of 34

 

SUPERIGR COURT OF CALIFORNIA, GOUNTY OF SAN DIEGO FOR COURT USE ONLY
STREET ADDRESS: 330 West Broadway
MAILING ADDRESS: 330 West Broadway

CITY, STATE. & Zip Gone: San Diego, CA 92101-3827
BRANGH NAME: Central

 

PLAINTIFF(S): Shannon Nangle

 

DEFENDANT(S); Penske Logistics LLC

 

SHORT TITLE: NANGLE VS, PENSKE LOGISTICS LLC

 

 

 

 

 

STIPULATION TO USE ALTERNATIVE CASE NUMBER:
Judge: Jeffrey B, Barton Departrnent: C-69

The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
afiernative dispute resolution (ADR) process, Selection of any of these options will noi delay any case management timelines.

CJ Mediation (courl-connected} i Non-binding private arbitration

[] Mediation (private) [] Binding private arbitration

CO Voluntary settlement conference (private) C] Non-binding judicial arbilration (discavery until 15 days before tial}
Ct Neutral evaluation (private) Ol Non-binding judicial arbitration (discovery until 30 days before thal}
C Other (specify @.g., private mint-trial, private judge, sie.7

 

 

itis also stipulated that the following shall serve as arbitralor, mediator or other neutral: (Name)

 

 

 

Altemate neutral (for court Civil Mediation Program and arbitration only}:

 

 

 

 

 

 

 

 

 

 

 

Date: Daie:

Name of Plaintiff Name of Defendant

Signature Signature

Name of Plaintiff's Attorney Name of Defendant's Allomey
Signature Signature

If there are more parties and/or attomeys, please allach additional completed and fully execuied sheets.

{lis the duty of the parties to notify the court of any settiement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
the court will place this matter on a 45-day dismissal calendar.

No new parties may be added without leave of court.
ITIS SO ORDERED,
Daied; 02/28/2041 JUDGE OF THE SUPERIOR COURT

 

 

SOC Giv-358 (Rev 12-40) STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION Page}
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.39 Page 27 of 34

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Christopher C. MoNatt, Jr. (SBN 174559) Sebel be

cmenatt@scopelitis.com ly
SCOPELITIS, GARVIN, LIGHT, HANSON & FEARY, LLP

2 North Lake Avenue, Suite 460
Pasadena, California 91101
Tel.: (626) 795-4700

Fax: (626) 795-4790

Attorneys for Defendant
PENSKE LOGISTICS, LLC

SUPERIOR COURT OF THE STATE OF CALIFORNIA

IN AND FOR THE COUNTY OF SAN DIEGO
CASE NO, 37-201 1-00086681-CU-OE-CTL

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SHANNON NANGLE,
on behalf of herself and all others
similarly situated,

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) ANSWER AND AFFIRMATIVE
) DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO
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Plaintiff,

PLAINTIFF’S CLASS ACTION
COMPLAINT

Complaint Filed: February 28, 2011
Trial Date: None Set

Hon, John S, Meyer

Dept. C-61

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' VS,

PENSKE LOGISTICS, LLC,
a Delaware corporation, and DOES 1

through 100, inclusive,

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Defendants.

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Defendant, Penske Logistics, LLC (“Defendant”), by counsel, responds to the Class

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Action Complaint (“Complaint”) filed by Plaintiff, Shannon Nangle, as follows:
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GENERAL DENIAL
Pursuant to California Code of Civil Procedure § 431,30(d), Defendant generally and

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specifically denies each and every allegation contained in the Complaint and each purported

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cause of action therein. Without limiting the generality of the foregoing, Defendant specifically

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denies that Plaintiff, and/or the class she seeks to represent, is entitled to any of the telief

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requested; that Defendant violated any statute or other legal requirement pertaining to

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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFF’S CLASS ACTION COMPLAINT

 

 

 
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compensation paid to its drivers; that Defendant is guilty of any wrongful conduct or omission;
and that any conduct or omissions of Defendant caused any injury or damage to Plaintiff, and/or
the class she seeks to represent, in the amount alleged or otherwise.
II.
AFFIRMATIVE DEFENSES
Pursuant to California Cade of Civil Procedure § 431,30(g), Defendant further pleads the

 

following separate and additional defenses to the Complaint, without in any way agreeing or
conceding that it has the burden of proof or persuasion of any of these issues or that it is liable
for any claims against it:

1, The Complaint should be dismissed because each claim set forth in the Complaint
fails to state a claim upon which relief can be granted.

2. The Complaint should be dismissed because Plaintiff has failed to exhaust all
administrative remedies available and required to secure the benefits and protections to which
she claims to have been entitled pursuant to California law.

3. The Complaint should be dismissed because questions regarding the benefits and
protections to which Plaintiff claims to have been entitled, including Plaintiffs entitlement to

those benefits, and the amount of any benefits, are within the exclusive and primary jurisdiction

of certain California state and/or federal administrative agencies.

4, Plaintiff's claims for damages are barred, in whole or in part, by Plaintiff's failure
to mitigate her damages. |

5. Some or all of Plaintiff's claims are barred by the doctrine of laches.

6. Some or all of Plaintiff's claims ate barred by the doctrine of unclean hands
and/or the doctrine of waiver.

7. Some or all of Plaintiff’s claims are barred by the doctrine of estoppel.

8. Some ot all of Plaintiff's claims are barred because Defendant has paid Plaintiff
in full.

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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFE’S CLASS ACTION COMPLAINT

 

 
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.41 Page 29 of 34

9. Some or all of Plaintiffs claims imposing penalties would be inequitable and

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unjust and are therefore barred because a good faith dispute exists as to whether additional

compensation is due and owing and Defendant has not intentionally or willfully failed to pay

such additional compensation.
10, Plaintiffs claims are barred, in whole or in part, by the doctrine of avoidable
consequences.

11, Plaintiffs claims must be dismissed to the extent they relate to work activities

performed outside California because the California Labor Code does not apply to work

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activities performed outside the state.

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12. The business practices alleged in the Complaint are not “unfair,” “unlawful,” of

“fraudulent” as those terms ate defined and utilized in California Business & Professions Code §

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17200.
13, Plaintiff's claims are barred, in whole or in part, because the alleged practices are

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not unfair, the public is not likely to be deceived by any alleged practices, Defendant gained no

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competitive advantage by such practices, and the benefits of the alleged practices outweigh any

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harm or other impact they may cause.

14,  Plaintiff’s claims are barred, in whole or in part, because Defendant’s business

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practices ate not and were not “unlawful” in that they complied with all applicable statutes and

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regulations regarding the payment of wages.

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15. The imposition of replicating penalties, as applied to the alleged facts and

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circumstances of this case, would violate Defendant’s due process rights under the U.S.

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Constitution and the California Constitution.

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16, Some or all of Plaintiff's claims are barred by the applicable statute of limitations.

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17, Some ot all of Plaintiff's claims are barred because Plaintiff consented to the

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alleged conduct of Defendant.
18, Some or all of Plaintiff's claims should be reduced by the doctrine of set off.

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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFF’S CLASS ACTION COMPLAINT

 

 

 
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.42 Page 30 of 34

19. This action does not meet the requirements for class action treatment, and

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Plaintiff cannot satisfy the requirements for maintenance of a class action, including, without
limitation, ascertainability, predominance, typicality, adequacy, and superiority.

20. Plaintiff has been fully compensated for any wages owed, and, by accepting the
payments made to her, has effectuated an accord and satisfaction of her claims.

21, All actions taken by Defendant toward Plaintiff were lawful and not in violation

of public policy.
22, Even assuming for the sake of argument that Defendant violated a statute in the

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California Labor Code or California Business & Professions Code, or an Industrial Welfare

Commission Wage Order, any such violation was a result of an act or omission in good faith, and

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Defendant had reasonable grounds for believing such act or omission was not a violation of any

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statute, order, regulation or policy.

23, Defendant has not willfully or intentionally failed to pay any compensation to

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Plaintiff so as to justify an award of penalties or fees to Plaintiff on that basis.

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24. Any claim for penalties is unconstitutional under the U.S. Constitution and the

California Constitution.
25. To the extent Plaintiff seeks to recover equitable relief, Plaintiff is not entitled to

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such a relief because she has an adequate remedy at law.

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26. Some ot all of Plaintiff's claims are barred because, at all times, Defendant acted

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in good faith, did not engage in any unfair business practices, and did not otherwise violate any

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applicable laws.
27, California Business & Profession Code § 17200, et seq, is unconstitutional,

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vague and over broad in the manner in which Plaintiff claims that the statutes apply to

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Defendant's business practices and thus constitutes a violation of Defendant's rights to due

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process and equal protection.

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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFE’S CLASS ACTION COMPLAINT

 

 
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.43 Page 31 of 34

28.  Pre-judgment interest may not be granted because the damages claimed by

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Plaintiff are not sufficiently certain to allow an award of pre-judgment interest.

29, Plaintiffs allegations against unidentified “Doe” defendants must be dismissed

because Plaintiff has failed to identify and serve those purported defendants in a timely manner,

30, Plaintiff has waived her right to some or all of the meal breaks by failing to take
breaks provided to her as required by law, by choosing to take breaks that were authorized and

permitted, or by waiving the right to take breaks.

31. Defendant has paid to Plaintiff, on a timely basis and with proper itemization, all

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wages to which Plaintiff was entitled.

32, Some or all of Plaintiff's claims for penalties are barred on the ground that a good

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faith dispute exists as to whether additional compensation is due and owing, thereby precluding a

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finding that Defendant has intentionally or willfully failed to pay any such additional

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compensation.

33. Plaintiff is not entitled to any penalty award under any California Labor Code

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provision because, at all times relevant hereto, Defendant acted in good faith and had reasonable

grounds for believing that it did not violate the California Labor Code, the California Business

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and Professions Code or a California Industrial Wage Order.

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34. Without admitting that Plaintiff has been damaged in any sum whatsoever or at

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all, Defendant is informed and believes and, based on such information and belief, alleges that, if

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Plaintiff has suffered any damages as alleged in the Complaint, such damages were proximately

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caused in whole or in part by Plaintiff's own acts or omissions, and any damages otherwise

recoverable by Plaintiff should be reduced in the proportion to which such damages resulted

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from her own conduct.
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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFE’S CLASS ACTION COMPLAINT

 

 
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35. Plaintiff has failed to state facts sufficient to constitute a claim for waiting time

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penalties under California Labor Code § 203 to the extent that any person claiming such
penalties did not resign or was not discharged prior to the filing of this action or was employed
by Defendant at the time this action was filed.

36, Plaintiff's claims for penalties, including waiting time penalties under California
Labor Code § 203, are barred because (a) a good faith, bona fide dispute exists or existed as to
whether additional compensation is or was owed, pursuant to California Labor Code §§ 201, 202

and 203; (b) Defendant has not intentionally or willfully failed to pay each additional

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compensation, and (c) to impose penalties in this action would be inequitable and unjust.

37, The imposition of replicating penalties, as applied to the alleged facts and

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circumstances of this case, would violate Defendant’s due process rights under the Fourteenth

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Amendment of the U.S. Constitution and under the Constitution and laws of the State of

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California, Lockyer v. R.J, Reynolds Tobacco Co., 37 Cal. 4'8 707 (2005); Ratner v, Chemical

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Bank New York Trust Co., 54 F.R.D. 412 (S.D.N.Y, 1972).

38, Without waiving its ability to oppose class certification and explicitly asserting its

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opposition to the propriety of class treatment, if the Court does certify a class in this case over

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Defendant’s objections, then Defendant asserts the affirmative defenses set forth above against

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each and every member of the certified class,

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39,  Plaintiff’s claims are barred because they are an undue burden upon interstate

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commerce in violation of the Commerce Clause of the U.S. Constitution, U.S. CONST. art. L§

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8, cl. 3.
40, Plaintiff's claims are preempted under the Supremacy Clause of the U.S.

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Constitution, U.S, CONST, art. VI, cl. 2, because compliance with California’s Labor Code

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requirements affect Defendant’s prices, rates, routes, and services within the meaning of the

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express preemption provision of the Federal Aviation Administration Authorization Act

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(“FAAAA”), 49 U.S.C, § 14501,

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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
PENSKE LOGISTICS, LLC TO PLAINTIFF'S CLASS ACTION COMPLAINT

 

 

 
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41, Defendant will rely on all defenses lawfully available to it at the time of trial and

reserves the right to amend its answer and affirmative defenses to include additional defenses

 

after the completion of discovery.
WHEREFORE, Defendant requests judgment as follows:
A. _ That this action not be certified as a class action;
B That Plaintiff take nothing by way of the Complaint;
C. _ That judgment be entered against Plaintiff and in favor of Defendant;
D. That Defendant be awarded its attorney fees and costs incurred in this case, and
E That Defendant be awarded all other necessary and proper relief.
Dated: April 15, 2011 SCOPELITIS, GARVIN, LIGHT,
HANSON & FEARY, LLP
Christopher C, McNatt, Jr.
Attorney for Defendant
PENSKE LOGISTICS, LLC
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ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT

 

PENSKE LOGISTICS, LLC TO PLAINTIFF’S CLASS ACTION COMPLAINT
Case 3:11-cv-00807-CAB-BLM Document 1-1 Filed 04/18/11 PagelD.46 Page 34 of 34

 

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1 PROOF OFSERVICE ...,
2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES ©!) &
3 I, Michelle Lazo, am employed in the County of Los Angeles, State of
California. I am over the age of 18 and not a party to the within action. My
4 business address is 2 North Lake Avenue, Suite 460, Pasadena, California
s ;
On, April 15, 2011, I served the foregoing document described as
6 ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT PENSKE
LOGISTICS, LLC TO PLAINTIFF'S CLASS ACTION COMPLAINT on
7 interested parties in this action by placing a true copy thereof enclosed in a
3 sealed envelope addressed as follows:
9 Mr. Michael D. Singer
Cohelan Khoury & Singer
10 605 C Street, Suite 200
i San Diego, California 92101
12 |l v (BY MAIL) I deposited such envelope in the mail at Pasadena,
13 California, The envelope was mailed with postage thereon fully prepaid.
N Lam “readily familiar’ with the firm’s practice of collection and
14 processing correspondence for mailing. Under that practice it would be
deposited with U.S. postal service on that same day with postage
15 thereon fully prepaid at Pasadena, California in the ordinary course of
business, I am aware that on motion of the party served, service is
16 presumed invalid if postal cancellation date or postage meter date is
7 more than one day after date of deposit for mailing in affidavit.
N (STATE) I declare under penalty of perjury under the laws of the State
18 of California that the above is true and correct.
19 Executed on April 15, 2011 at Pasadena, California, .
21 A Neo?
Michelle Lazo
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